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                             UNITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No.: 3:11CR41 (SRU)
                                             :
                                             :
FRANCISCO ILLARRAMENDI                       :       November 4, 2013


  GOVERNMENT=S NOTICE THAT THE RECEIVER’S LOSS CALCULATION HAS
        BEEN PROVIDED TO PROBATION AND DEFENSE COUNSEL

       Defendant Francisco Illarramendi (hereafter AIllarramendi@) is currently detained pending

sentencing in the above-captioned matter, which date is not currently scheduled. By this notice,

the Government is advising the Court that it has furnished the loss calculation prepared by the

court appointed receiver in SEC v. Illarramendi, 3:11CV78 (JBA) to Mr. Illarramendi’s counsel and

the Probation Officer assigned to the above-captioned matter.

                                             Respectfully submitted,

                                             DEIRDRE M. DALY
                                             ACTING UNITED STATES ATTORNEY

                                                /s/
                                             PAUL A. MURPHY
                                             ASSISTANT U.S. ATTORNEY
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                                              /s/
                                             RICHARD J. SCHECHTER
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on November 4, 2013, a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by
e-mail to all parties by operation of the Court=s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court=s CM/ECF.

                                                        ___/s/____________________
                                                        RICHARD J. SCHECHTER
                                                        SENIOR LITIGATION COUNSEL
